Case 6:08-cr-00176-JA-TBS Document 304 Filed 05/06/19 Page 1 of 3 PageID 5212



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

   UNITED STATES OF AMERICA

          Plaintiff,
   v.                                                 CASE NO: 6:08-cr-176-Orl-28TBS

   FRANK L. AMODEO

          Defendant.


                                               ORDER

          Pending before the Court is the Motion to Appoint Counsel to Assist Frank L.

   Amodeo with Applying First Step Act Provisions (Doc. 303). Mr. Amodeo did not sign the

   motion and he is not represented by a lawyer. The motion is signed by Donovan Davis Jr.

   as “next friend.” (Id., at 2-3). Mr. Davis states that he “is not acting as counsel for Mr.

   Amodeo—quite the contrary. Mr. Davis is simply helping Mr. Amodeo.” (Id., fn. 1). Mr.

   Davis cites Johnson v. Avery, 393 U.S. 483, 89 S.Ct. 747, 21 L.Ed. 718 (1969); Bounds v.

   Smith, 430 U.S. 817, 97 S.Ct. 1491, 52 L.Ed.2d 72 (1977); and FED. R. CIV. P. 17(c) as

   legal authority for his ability to assist Mr. Amodeo.

          Johnson involved an inmate challenge to a Tennessee prison regulation

   prohibiting inmates from assisting one-another with their legal matters. Tennessee

   defended the regulation as part of the disciplinary administration of its prisons. The

   Supreme Court held that “unless and until the State provides some reasonable alternative

   to assist inmates in the preparation of petitions for post-conviction relief, it may not validly

   enforce a regulation such as that here in issue, barring inmates from furnishing such

   assistance to other prisoners.” Johnson v. Avery, 393 U.S. at 490.

          Bounds was an inmate who complained that the state of North Carolina had failed
Case 6:08-cr-00176-JA-TBS Document 304 Filed 05/06/19 Page 2 of 3 PageID 5213



   to provide adequate prison law libraries. The Supreme Court held “that the fundamental

   constitutional right of access to the courts requires prison authorities to assist inmates in

   the preparation and filing of meaningful papers by providing prisoners with adequate law

   libraries or adequate assistance from persons trained in the law.” Bounds v. Smith, 430

   U.S. at 828.

            Federal Rule of Civil Procedure 17(c) provides that a general guardian, committee,

   conservator, or like fiduciary may sue or defend on behalf of a minor or incompetent. This

   is a criminal proceeding, and Mr. Davis is not appearing as a fiduciary for Mr. Amodeo.

   Consequently, while Mr. Davis may assist Mr. Amodeo in the preparation of motions, Mr.

   Davis’ signature is insufficient to file a valid motion on Mr. Amodeo’s behalf.

            Charles Rahn has appeared in this case as Mr. Amodeo’s state appointed

   guardian (Doc. 298 at 1). Mr. Rhan has not joined in the pending motion and even if he

   had, the Eleventh Circuit recently held that Mr. Rahn cannot proceed pro se on Mr.

   Amodeo’s behalf “because a non-lawyer may not represent another individual in federal

   court.” Amodeo v. United States of America, No. 18-12845-FF, at 2 (11th Cir. April 26,

   2019).

            In March of this year, Mr. Rahn filed a motion for the appointment of a lawyer to

   assist Mr. Amodeo in the preparation of a notice of appeal and an application to proceed

   in forma pauperis (Doc. 292). The motion states that “[t]his and other courts have

   concluded that Mr. Amodeo lacks the capacity to sue without proper representation.”

   (Doc. 292 at 1) (citing Amodeo v. Warden, No. 17-15456-D). The undersigned denied the

   motion to appoint counsel because the district judge had already concluded that Mr.

   Amodeo was not entitled to a certificate of appealability (Doc. 297). Mr. Amodeo, through

   Mr. Rahn, has appealed that Order (Doc. 298).



                                                 -2-
Case 6:08-cr-00176-JA-TBS Document 304 Filed 05/06/19 Page 3 of 3 PageID 5214



         Now, the pending motion is DENIED without prejudice because it is not signed by

   anyone with the legal authority to act on Mr. Amodeo’s behalf.

         DONE and ORDERED in Orlando, Florida on May 6, 2019.




   Copies furnished to:

         Counsel of Record
         Frank L. Amodeo




                                              -3-
